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10   Attorneys for Plaintiff                         Attorneys for Defendant
     SYNOPSYS, INC.                                  REAL INTENT, INC.
11

12                                UNITED STATES DISTRICT COURT
13                               NORTHERN DISTRICT OF CALIFORNIA
14
                                           SAN JOSE DIVISION
15

16   SYNOPSYS, INC.,                                  Case No. 5:20-cv-02819-EJD (SvK)

17                  Plaintiff,                        STIPULATION AND [PROPOSED]
                                                      ORDER AMENDING THE CASE
18          v.                                        SCHEDULE

19   REAL INTENT, INC.,                               Dept.:     Courtroom 4 – 5th Floor
                                                      Judge:     Hon. Edward J. Davila
20                  Defendant.
                                                      Date Filed: April 23, 2020
21
                                                      Trial Date: None set
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                   STIPULATION AND [PROPOSED] ORDER AMENDING THE CASE SCHEDULE
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 1                       STIPULATION AMENDING THE CASE SCHEDULE

 2          Pursuant to Civil Local Rules 6-1(b), 6-2, and 7-12, Plaintiff Synopsys, Inc. and

 3   Defendant Real Intent, Inc. (collectively, the “Parties”) hereby submit this Stipulation Amending

 4   the Case Schedule and jointly request that the Court amend the case schedule as set forth below.

 5          The Parties, by and through their counsel, have met and conferred and state the following:

 6          WHEREAS, Civil Local Rule 6-2 allows the Parties to file a stipulation requesting an

 7   order changing a time that would affect the date of an event or deadline already fixed by Court

 8   order, provided the stipulated request is accompanied by a supporting declaration that sets forth

 9   the reasons for the stipulated request, discloses all previous time modifications, and describes the

10   effect the requested time modification would have on the schedule for the case;

11          WHEREAS, good cause exists to amend the case schedule as stipulated below because it

12   will be substantially more efficient, conserve party and Court resources, and reduce expert and

13   fact discovery costs to prepare and serve expert reports after the Court issues its claim

14   construction order, see Decl. of Bilal Malik in Supp. of Stipulation and Proposed Order

15   Amending Case Schedule (“Malik Decl.”) ¶ 3;

16          WHEREAS, the Parties agree that additional clarity in the expert discovery schedule on

17   the issues that will be addressed in each expert report will benefit the Parties and the Court, and

18   that allowing reply expert reports on certain discrete issues identified in the proposed schedule

19   herein, which are not included in the current case schedule, will help to ensure that the relevant

20   issues are addressed efficiently by the Parties’ respective experts, see Malik Decl. ¶ 3;

21          WHEREAS, the Parties agree that discovery, including fact depositions, may proceed

22   while the Court’s claim construction order is pending and without prejudice to either Party’s

23   ability to seek a second deposition from an individual if there is good cause to do so after the

24   Court’s claim construction order issues;

25          WHEREAS, the Court previously modified the case schedule after Plaintiff filed an

26   Amended Complaint, see ECF Nos. 77–79, and to accommodate the Parties’ exchange and

27   review of voluminous electronically stored documents, see ECF Nos. 100–01, Malik Decl. ¶ 6;

28   and
                                                    1
                  STIPULATION AND [PROPOSED] ORDER AMENDING THE CASE SCHEDULE
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 1          WHEREAS, the Parties’ stipulation will not impact the trial date for this matter, as the

 2   trial date has not yet been set by the Court, see Malik Decl. ¶ 7.

 3          NOW, THEREFORE, IT IS STIPULATED by and between the Parties, through their

 4   counsel, and subject to the Court’s approval, that the remaining case schedule be amended as

 5   follows:

 6                     EVENT                              CURRENT              STIPULATED NEW
                                                          DEADLINE                DEADLINE
 7    Fact Discovery Cut-off                         May 27, 2022             The later of (1) May 27,
 8                                                                            2022, or (2) six (6)
                                                                              weeks after issuance of
 9                                                                            the Court’s claim
10                                                                            construction order
      Last Day to File Fact Discovery Motions        June 3, 2022             The later of (1) June 3,
11
                                                                              2022, or (2) seven (7)
12                                                                            weeks after issuance of
                                                                              the Court’s claim
13
                                                                              construction order
14    Trial Setting Conference                       June 16, 2022,           No change
15                                                   11:00 a.m.; stmt. due
                                                     June 6, 2022
16
      Last Day for Plaintiff to Serve Opening   June 24, 2022                 The later of (1) July 1,
17    Expert Report(s) on: Patent Infringement                                2022; or (2) eleven (11)
      and Patent Damages; Copyright                                           weeks after issuance of
18
      Infringement and Copyright                                              the Court’s claim
19    Damages/Monetary Remedies, Including                                    construction order
      Identification of Gross Revenues under 17
20
      U.S.C. § 504(b), if applicable; and Any
21    Other Issues for which Plaintiff has the
      Burden of Proof.
22

23    Last Day for Defendant to Serve Opening
      Expert Report on Patent Invalidity.
24
      Last Day for Defendant to Serve Rebuttal       July 29, 2022            The later of (1) August
25    Expert Report(s) on: Patent                                             12, 2022; or (2)
26    Noninfringement and Patent Damages;                                     seventeen (17) weeks
      Copyright Noninfringement, Copyright                                    after issuance of the
27    Defenses, Including Fair Use, Merger,                                   Court’s claim
28    Scenes a Faire, and Any Other Copyright                                 construction order

                                                    2
                  STIPULATION AND [PROPOSED] ORDER AMENDING THE CASE SCHEDULE
                                    Case No. 5:20-cv-02819-EJD (SvK)
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 1       Defenses, and Copyright
 2       Damages/Monetary Remedies; and Any
         Other Non-Patent Opening Report Served
 3       by Plaintiff.
 4
         Last Day for Plaintiff to Serve Rebuttal
 5       Expert Report on Patent Validity,
 6       Including Secondary Considerations.
         Last Day for Plaintiff to Serve Reply      Not previously set         The later of
 7
         Expert Report on Copyright Defenses and                               (1) September 9, 2022;
 8       on Profits Attributable to Alleged                                    or (2) twenty-one (21)
         Copyright Infringement under 17 U.S.C.                                weeks after issuance of
 9
         § 504(b), if applicable.                                              the Court’s claim
10                                                                             construction order
         Last Day for Defendant to Serve Reply
11
         Expert Report on Secondary
12       Considerations.

13       Time Period for Expert Depositions         Not previously set         The three-week period
                                                                               between the Last Day
14                                                                             to Serve Expert Reply
15                                                                             Reports and the Expert
                                                                               Discovery Cut-Off Date
16
         Expert Discovery Cut-Off                   August 19, 2022            The later of
17                                                                             (1) September 30,
                                                                               2022; or (2) twenty-
18
                                                                               four (24) weeks after
19                                                                             issuance of the Court’s
                                                                               claim construction
20
                                                                               order
21       Last Day to File Dispositive Motions and   September 15, 2022         The later of (1) October
22       Daubert Motions1                                                      27, 2022; or (2) the first
                                                                               Thursday that falls at
23                                                                             least four weeks after
24                                                                             the expert discovery
                                                                               deadline
25
     1
26     As noted in the Parties’ amended joint case management conference statement, Real Intent
     anticipates filing an analytic dissection motion as to Synopsys’ copyright claim, separate and
27   apart from any summary judgment motion(s) it may file. ECF No. 28 at 4. Synopsys believes it
     is premature to set an analytic dissection briefing schedule or hearing at this juncture. Id. at 9.
28   Real Intent intends to raise this scheduling issue with the Court at the Trial Setting Conference,
     currently scheduled to take place at 11:00 a.m. on June 16, 2022.
                                                      3
                    STIPULATION AND [PROPOSED] ORDER AMENDING THE CASE SCHEDULE
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 1    Last Day to File Responses to Dispositive   September 29, 2022        The later of
 2    Motions and Daubert Motions                                           (1) November 17, 2022;
                                                                            or (2) three weeks after
 3                                                                          dispositive and Daubert
 4                                                                          motions are filed
      Last Day to File Replies to Dispositive     October 6, 2022           The later of
 5
      Motions and Daubert Motions                                           (1) December 1, 2022;
 6                                                                          or (2) two weeks after
                                                                            responsive briefs for
 7
                                                                            dispositive and Daubert
 8                                                                          motions are filed

 9    Dispositive and Daubert Motion Hearings     October 27, 2022,         TBD
                                                  9:00 a.m.
10
      Pretrial Conference, Trial Date, and        TBD                       TBD
11    Related Deadlines
12

13   Dated: March 10, 2022                                Respectfully Submitted,

14                                                        WILLKIE FARR & GALLAGHER LLP

15
                                                    By:   /s/ Krista S. Schwartz
16
                                                          KRISTA S. SCHWARTZ
17

18                                                        Attorney for Plaintiff
                                                          SYNOPSYS, INC.
19

20

21   Dated: March 10, 2022                                KEKER, VAN NEST & PETERS LLP
22

23                                                        /s/ Bilal Malik
                                                    By:   ROBERT A. VAN NEST
24                                                        REID P. MULLEN
                                                          RYAN K. WONG
25                                                        KRISTIN HUCEK
                                                          VICTOR CHIU
26                                                        BILAL MALIK

27                                                        Attorneys for Defendant
                                                          REAL INTENT, INC.
28
                                                   4
                 STIPULATION AND [PROPOSED] ORDER AMENDING THE CASE SCHEDULE
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 1                        ATTESTATION OF CONCURRENCE IN FILING
 2          Pursuant to Local Rule 5-1(i)(3), I hereby attest that concurrence in the filing of this

 3   document has been obtained for the other signatories in this e-filed document.

 4

 5   Dated: March 10, 2022                             By: /s/ Bilal Malik ________________________
                                                          BILAL MALIK
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                  STIPULATION AND [PROPOSED] ORDER AMENDING THE CASE SCHEDULE
                                    Case No. 5:20-cv-02819-EJD (SvK)
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 1                     [PROPOSED] ORDER AMENDING CASE SCHEDULE
 2          Pursuant to the Parties’ Stipulated Request to Amend the Case Schedule, and with good

 3   cause appearing, the Court hereby grants the Parties’ request and adopts the Parties’ stipulated

 4   schedule.

 5

 6          IT IS SO ORDERED.

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 9   Dated: ___________________
                                                  HONORABLE EDWARD J. DAVILA
10                                                UNITED STATES DISTRICT JUDGE
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                  STIPULATION AND [PROPOSED] ORDER AMENDING THE CASE SCHEDULE
                                    Case No. 5:20-cv-02819-EJD (SvK)
